  Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 1 of 11 PageID #:314



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

PITTSFIELD DEVELOPMENT, LLC,          )
et al.,                               )
                                      )
                        Plaintiffs,   )
                                      )
           v.                         )    No. 17-CV-1951
                                      )    Honorable Charles P. Kocoras
CITY OF CHICAGO,                      )    Magistrate Judge Sidney I. Schenkier
                                      )
                        Defendant.    )

        DEFENDANT CITY OF CHICAGO’S REPLY IN SUPPORT OF ITS
         MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
    Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 2 of 11 PageID #:315



                                        INTRODUCTION

       Soon after the City passed the Ordinance rezoning the Pittsfield Building from DX-16 to

DR-10, Plaintiffs sold their interests in the building for a considerable sum. The Amended

Complaint alleges that while “[n]one of the sales price realized for the Properties by Plaintiffs

was allocable to the Permit,” all remaining interests “sold for a collective sales price of

$20,800,000.” (Dkt. 29 ¶¶ 59, 61.) Judicially noticeable documents in the public record establish

that Plaintiffs received additional offers, including offers of $16,500,000 and $16,000,000, soon

after retaining a broker to sell their properties. Even so, Hotel continues to claim that the

Ordinance rendered its interests in the Pittsfield Building (floors 2-9) valueless, and indeed

submits that it is entitled to $39,000,000 for the total loss of its property value and consequential

damages. The Court should dismiss Hotel’s total regulatory takings claim. Companies sought to

purchase Plaintiffs’ interests in the Pittsfield Building—including Hotel’s floors—precisely due

to the building’s considerable economic potential under DR-10 zoning. Further, as Development

advised a federal bankruptcy judge in a motion it filed, at least 60% of the value of the Pittsfield

Building related to Hotel’s and Development’s floors of the building.

       Hotel cannot fall back on a Penn Central takings claim. In its Memorandum Opinion, the

Court squarely held that Plaintiffs cannot allege any such claim, as they complain only that the

Ordinance prevented them from realizing the “economic upshot” of their property interests by

preventing them from developing their properties into a hotel. Moreover, Hotel does not even

add a Penn Central claim, and instead alleges the same factual assertions about the same

Ordinance and parrots the same total regulatory takings language used in the original complaint.

And even if Hotel did add a Penn Central claim, the claim would still fail.

       Next, the Lucas takings theory cannot be applied to personal property interests like

Hotel’s building permit. Plaintiffs’ Response brief cites numerous cases applying Penn Central

                                                 1
     Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 3 of 11 PageID #:316



to personal property, but not one that so applies Lucas. This is unsurprising. The Supreme Court

has cabined Lucas’ special takings rule to “to the extraordinary circumstance when no productive

or economically beneficial use of land is permitted.” Tahoe-Sierra Pres. Council, Inc. v. Tahoe

Reg.’l Planning Agnecy, 535 U.S. 302, 330 (2002) (emphasis added).

        Finally, Plaintiff fails to state a substantive due process claim. Plaintiffs bear the burden

of “showing” the inadequacy of state law remedies prior to advancing such a claim. Rather than

meeting this burden, Plaintiffs allege the inadequacy of state law remedies in an entirely

conclusory fashion while providing extensive allegations that Illinois’ vested rights doctrine

might have adequately remedied the quandary they find themselves in. But Plaintiffs’ sale of

their interests in the Pittsfield Building moots any lingering vested rights claims. The Court

should therefore dismiss Plaintiffs’ Amended Complaint in its entirety.

                                          ARGUMENT

I.      Hotel Fails to State a Regulatory Taking of Its Floors in the Pittsfield Building.

        As the Court recognized, the Pittsfield Building “is no mere vacant blight” and “is a

desirably located property.” (Dkt. 20, p. 17.) Businesses presented sizable offers to purchase

Plaintiffs’ interests in the Pittsfield Building—including Hotel’s floors—precisely because they

recognized the building’s considerable economic potential. In their Response brief, Plaintiffs do

not dispute that they received offers for their interests in the building. Rather, Plaintiffs

improperly use their Response to further amend the Amended Complaint in two ways. First, the

Response argues—in contradiction to the Amended Complaint’s concession that the $20,800,000

sales price was allocable to all of Plaintiffs’ interests in the building, aside only from Hotel’s

building permit—that the sales price did not include Hotel’s floors at all. Compare (Dkt. 29 ¶¶

59, 61), with Plfts’ Response pp. 5-6. Second, the Response attempts to add a new Penn Central



                                                  2
    Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 4 of 11 PageID #:317



takings claim not present in Plaintiffs’ amended or original pleading. As Hotel fails to state a

claim under either takings theory, the Court should dismiss Count I of the Amended Complaint.

       a. Hotel Fails to State a Lucas (Total) Regulatory Taking of Its Floors of the
          Pittsfield Building.

       Plaintiffs’ pleadings and court filings are rife with contradictions and ambiguities about

the value of their respective property interests. In their original complaint, Plaintiffs contended

that the Ordinance “effectively denie[d] Plaintiffs all economically viable uses for their

properties” in the Pittsfield Building, (dkt. 1 ¶ 1); but in the Amended Complaint, Plaintiffs

concede that Residential’s interests in the Pittsfield Building had been operating at a profit and

generating meaningful income, while Development was generating revenue from tenants. E.g.

(dkt. 29 ¶ 60.). Likewise, in the Amended Complaint, Plaintiffs admit that their interests in the

Pittsfield Building “sold for a collective sales price of $20,800,000,” an amount partially

allocable to Hotel’s floors of the building, (dkt. 29 ¶¶ 59, 61); but in their Response brief,

Plaintiffs state that Hotel’s floors “had no independent value” whatsoever, (dkt. 42 p. 6).

       The Court need not be confused about what portion of the purchase offers Plaintiffs

received related to Hotel’s floors of the Pittsfield Building. Fortunately, Development clarified

this issue in its bankruptcy action. There, Development filed a motion in which it advised a

federal bankruptcy judge that it had “identified a buyer that is ready, willing and able to offer

$16 million for each of the subject parcels” and “that at least 60% of the $16 million purchase

price, or approximately $9.6 million, is allocable to” Hotel and Development’s floors of the

building, while the balance is allocable to Residential’s floors. (MTD at Ex. B ¶ 16). Thus, at

least 60% of the value of the purchase offers Plaintiffs received for their interests in the Pittsfield

Building, which included offers of $20,800,000, $16,500,000, and $16,000,000, was allocable to

the floors of the building owned by Hotel and Development. Plaintiffs cannot advise this Court


                                                  3
    Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 5 of 11 PageID #:318



that none of the sales offers reflected the value of Hotel’s floors while advising a federal

bankruptcy judge that the offers mostly reflect the value of Hotel’s and Development’s floors.

       Events in the free market have overtaken any need for evaluating the plausibility of

Plaintiffs’ pleadings as to the value of Hotel’s floors. While it is true that Hotel or a prospective

purchaser would have needed to submit applications to develop Hotel’s floors of the building

permitted under DR-10 zoning, temporary delays, especially those associated with normal

governmental processes such as the building permit process, do not result in takings. See Tahoe-

Sierra, 535 U.S. at 334-35; Palazzolo v. Rhode Island, 533 U.S. 606, 627 (“The right to improve

property, of course, is subject to the reasonable exercise of state authority, including the

enforcement of valid zoning and land-use restrictions.”). The Court should therefore dismiss

Hotel’s Lucas takings claim set forth in Count I of the Amended Complaint.

       b. Hotel Cannot and Does Not State a Penn Central Takings Claim.

       The Amended Complaint cannot and does not state a Penn Central takings claim. The

Court specifically addressed this matter in its Memorandum Opinion, where it agreed with the

City that Plaintiffs did not allege any such claim. The Court reasoned as follows:

       The only other [takings] category arguably applicable, a Penn Central taking, requires an
       analysis of a “complex of factors including the regulation’s economic effect on the
       landowner, the extent to which the regulation interferes with reasonable investment-
       backed expectations, and the character of the government action.” Palazzolo, 533 U.S. at
       617 (2001) (citing Penn Cent. Transp. Co. v. City of New York, 438 U.S. 104, 124
       (1978)). However, “[a] regulatory restriction on use that does not entirely deprive an
       owner of property rights may not be a taking under Penn Central.” Horne v. Dep’t of
       Agric., 135 S.Ct. 2419, 2429 (2015). Because Pittsfield does not allege that its rights in
       the Building or the Permit have been wholly deprived, only that the economic upshot of
       those rights has been nullified, we confined our analysis of the viability of Pittsfield’s
       Complaint to its adequacy in alleging that the Downzoning Ordinance caused a complete
       deprivation of the properties’ economically beneficial uses.

(Dkt. 20, pp. 16-17.)




                                                 4
    Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 6 of 11 PageID #:319



         The Amended Complaint sets forth the same takings challenge to the same Ordinance at

issue in the original complaint, and depends on nearly identical factual assertions. Compare (dkt.

1), with (dkt. 29.) Notably, Plaintiffs’ Response nowhere addresses the Court’s concern that a

regulatory restriction on use that does not entirely deprive an owner of property rights may not

be a Penn Central taking. See Pltfs’ Response pp. 8-10. Instead, Hotel submits only that the

Ordinance nullified the economic upshot of its interests in the Pittsfield Building and permit.

         The Amended Complaint not only cannot, but does not state a Penn Central claim. The

Amended Complaint and Complaint state total regulatory takings claims, alleging as follows:

         Plaintiffs’ claims arise out of the wrongful down zoning of real property owned by
         Plaintiffs that was initiated and enacted by the Defendant. The subject ordinance which
         selectively down zoned only the building in which properties owned by Plaintiffs were
         located (and no other buildings or properties) effectively denied Plaintiffs all
         economically viable uses for their affected properties and a related building permit to
         construct a hotel thereon.”

(Dkt. 29 ¶ 1); (dkt. 1 ¶ 1) (emphasis added); see also (dkt 29 ¶ 71) (“The Downzoning Ordinance

served to deny allowance of any economically viable uses for the Hotel Property.”) (emphasis

added), (dkt 29 ¶ 76) (“As a . . . result of the City’s wrongful acts as complained of herein, Hotel

has sustained significant injuries and damages in excess of $39,000,000.00. Said injuries and

damages include, but are not limited to loss of all economically beneficial uses of the Hotel

Property as affected by the Downzoning Ordinance, . . .”) (emphasis added), (dkt. 29 ¶ 94.) The

Court should not entertain Hotel’s attempt to amend its takings claim through a Response brief.

See Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1107 (7th Cir. 1984 (“it is axiomatic

that the complaint may not be amended by the briefs in opposition to a motion to dismiss”).1


1
  Plaintiff also cannot raise a new Penn Central claim prior to seeking leave of the Court. Following the Court’s
Memorandum Opinion, Plaintiffs’ counsel advised the Court that Plaintiffs had sold their real property in the
Pittsfield Building. The City moved the Court for an order directing Plaintiffs to amend their pleading to conform it
to (1) the Court’s Memorandum Opinion, which dismissed various claims and permitted others to survive; and (2)
the new facts relating to Plaintiffs’ sale of their interests in the Pittsfield Building. (Dkt. 25.) The Court granted

                                                          5
    Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 7 of 11 PageID #:320



         Finally, even if Hotel raised a Penn Central claim, the claim would still fail. Courts

analyze a Penn Central claim by evaluating “(1) the economic impact of the regulation on the

claimant; (2) the extent to which the regulation has interfered with investment-backed

expectations; and (3) the character of the government action.” Connolly v. Pension Benefit Guar.

Corp., 475 U.S. 211, 225 (1986). The “economic impact” and “character” factors so

overwhelmingly favor the City such that Hotel could not succeed on this claim.

         First, as to the “economic impact” factor, following the Ordinance, Plaintiffs sold their

interests in the Pittsfield Building for $20,800,000, and at least 60% of this value was allocable

to Hotel and Development’s property interests. There is no allegation that Hotel, as opposed to

Residential or Development, was drawn into bankruptcy due to the Ordinance. Rather, Hotel

complains only that the Ordinance prevented “the economic upshot” of its interests in the

Pittsfield Building by prohibiting it from developing its property into a hotel. The Ordinance

cannot result in a Penn Central taking solely because it may have prevented the most beneficial

uses of Hotel’s property. See Goldblatt v. Town of Hempstead, 369 U.S. 590, 592 (1962) (“It is

an oft-repeated truism that every regulation necessarily speaks as a prohibition. If this [zoning]

ordinance is otherwise a valid exercise of the town’s police powers, the fact that it deprives the

property of its most beneficial use does not render it unconstitutional.”). Thus, the Court must

regard the Ordinance as permitting Hotel not only to profit from the sale of its floors, but to

obtain a reasonable return on its investment.

         Second, as to the “character” element, the Ordinance imposed only a minor downzoning

from DX-16 to DR-10, a zoning classification which permits a wide array of economically viable

property uses. Absent extraordinary circumstances, laws imposing minor zoning reclassifications

Plaintiff leave to amend on these limited grounds, (dkt. 27), and on January 16, 2018, Plaintiffs filed their Amended
Complaint to comply with the Court’s order, (dkt. 29.)


                                                         6
    Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 8 of 11 PageID #:321



do not result in Penn Central takings. See Erwin Chemerinsky, Constitutional Law: Principles

and Policies (5th ed. 2015), pp. 679-80 (discussing the seminal takings challenges to restrictions

on the use of property through zoning laws, and concluding that the Supreme Court is only

willing to find that such laws result in regulatory takings “if the law prevents virtually all

economically viable uses of the property, as was the situation in Lucas”).

       Finally, as to the “investment-backed expectations” factor, although Hotel alleges that it

made investments to turn its property into a hotel, “‘[g]overnment hardly could go on if to some

extent values incident to property could not be diminished without paying for every such change

in the general law,’ . . . [and] government may execute laws or programs that adversely affect

recognized economic values.” Penn. Cent. Transp. Co. v. City of New York, 438 U.S. 104, 124

(1978) (citation omitted). A property that sells for millions following a minor rezoning that

prevents only the most beneficial use of a property therefore does not implicate Penn Central.

       As Hotel cannot and does not state a Penn Central takings claim, the Court should

disregard its attempt to add such a claim for the first time through its Response brief.

   II. There Can Be No Total Regulatory (Lucas) Taking of Hotel’s Building Permit.

       The Supreme Court has limited Lucas takings “to the extraordinary circumstance when

no productive or economically beneficial use of land is permitted.” Tahoe-Sierra Pres. Council,

Inc. v. Tahoe Reg.’l Planning Agnecy, 535 U.S. 302, 330 (2002) (emphasis added); see also

Hawkeye Commodity Promotions, Inc. (“Thus, it appears that Lucas protects real property

only.”); Parkridge Investors, Ltd. P’ship v. Farmers Home Admin., 13 F.3d 1192, 1199 (8th Cir.

1994) (accord); Philip Morris, Inc. v. Reilly, 312 F.3d 24, 35 (1st Cir. 2002) (“Lucas dealt with

real, not personal, property, and the Court cautioned that the value of personal property could be

wiped out without triggering the strictures of the Takings Clause.”); Unity Real Estate Co. v.



                                                 7
       Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 9 of 11 PageID #:322



Hudson, 178 F.3d 649, 675 (3d Cir. 1999) (“Therefore, the ‘total destruction’ language of cases

concerning real property should not be mechanically applied to the situation at bar.”). Thus,

Lucas cannot apply to Hotel’s alleged personal property interest in its building permit.

          Plaintiffs’ Response does not dispute that Hotel’s building permit is personal property,

and indeed the Amended Complaint alleges that it is personalty. See, e.g., (dkt. 29 ¶ 15)

(excluding Hotel’s building permit from the real property that has allegedly been taken by the

City). Rather, Plaintiffs seek to rebut the City’s argument that there can be no Lucas taking of

Hotel’s building permit by citing case law in which courts have applied Penn Central’s takings

analysis to personal property interests. Plaintiffs’ counterargument misses the point. First, the

Court has already held that Plaintiffs fail to state any Penn Central claim. See Sec. __, supra.

Second, Penn Central can apply to personal property; but Lucas cannot. Lucas has been cabined

to very specific circumstances. It provides plaintiffs with a categorical takings theory that applies

only to real property. Thus, unsurprisingly, Plaintiffs have failed to cite even one case in which

Lucas has been applied to personal property, let alone a case in the Seventh Circuit. The Court

should dismiss Count II of the Amended Complaint, which, as the Court held in its

Memorandum Opinion, sets forth a Lucas (total regulatory takings) challenge to the Ordinance

based on Hotel’s personal property interest in its building permit.

III.      Any Vested Rights Claims Have Been Rendered Moot.

          A party that prevails under a vested rights claim receives only the right to “complete the

construction and use of the premises for the purposes originally authorized.” Image Media

Advertising, Inc. v. City of Chicago, et al., Case No. 17-CV-4513, Dkt. 66 (N.D. Ill. December 7,

2017) (J. Feinerman). The City has argued that Plaintiffs’ sale of their interests in the Pittsfield

Building moots any such claim. Plaintiffs may no longer develop a property they do not own into

a hotel. Plaintiffs go a step further than the City, and state in their Response that they do not even

                                                  8
   Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 10 of 11 PageID #:323



allege any vested rights claim. (Plfts’ Response at 14) (“Hotel asserts claims for a taking of the

Hotel Property and the Permit in Counts I and II of the Amended Complaint – not for

‘development.’”). Thus, the Court should dismiss any lingering vested rights claims.

IV.    Plaintiffs Fail to State a Substantive Due Process Claim.

       The Court’s Memorandum Opinion permitted Plaintiffs’ substantive due process claims

to survive upon finding that Hotel sufficiently alleged total regulatory takings challenges. (Dkt.

20, p. 24.) As discussed herein and in the City’s Motion to Reconsider, however, Hotel’s

regulatory takings challenges fail. The Court should now in turn dismiss Plaintiffs’ substantive

due process challenges, as there is no independent constitutional violation and Plaintiffs fail to

show the inadequacy of state law remedies. See Doherty v. City of Chicago, 75 F.3d 318, 326

(7th Cir. 1996). Plaintiffs bear the burden of “showing” that state law remedies are inadequate.

Yet rather than making such a showing, the Amended Complaint alleges the inadequacy of state

remedies in an entirely conclusory fashion. (E.g. dkt. 29 ¶ 123.) The Seventh Circuit has

consistently held that such allegations are facially inadequate. E.g. LeBella Winnetka, Inc. v.

Village of Winnetka, 628 F.3d 937, 943 (7th Cir. 2010) (“The amended complaint alleges only

that ‘Labella has no adequate state law remedy available to it to address this unlawful conduct by

the Village and Williams.’ We have held that ‘such a conclusory allegation is insufficient.’”).

       Even if Plaintiffs pleaded more than a conclusory allegation, they have pled themselves

out of court with extensive allegations concerning their state law vested rights to develop the

property. All of Plaintiffs’ alleged damages, without exception, relate to their alleged inability to

proceed under prior authorization to develop their interests in the Pittsfield Building into a hotel

following the Ordinance. See, e.g., (dkt. 29 ¶ 76.) Illinois provides an adequate state law remedy

to address such complaints through its vested rights doctrine. Hotel could have advanced a

vested rights claim, which might have permitted it to proceed under prior authorization to

                                                 9
    Case: 1:17-cv-01951 Document #: 49 Filed: 04/25/18 Page 11 of 11 PageID #:324



develop their properties into a hotel notwithstanding the Ordinance. They did not. They instead

opted to sell their interests in the Pittsfield Building for $20,800,000. The Court should therefore

dismiss Plaintiffs’ substantive due process claims.2

    V. Hotel Lacks Standing to Bring Its Count I Lucas Challenge.

         Hotel has suffered no injury to a “legally protected interest” that would permit it to

advance a Lucas challenge. Even where a property owner suffers a diminution in value, such an

alleged injury is not “legally protected interest” under Lucas, which provides a remedy only to

property owners who have suffered a total deprivation of all economic value of their real

property. Tahoe-Sierra, 535 U.S. at 330. Thus, Hotel lacks standing to set forth its Lucas

challenge in Count I of its Amended Complaint.

                                                 CONCLUSION

         WHEREFORE the City of Chicago respectfully requests that the Court enter an order

dismissing Plaintiffs’ Amended Complaint in full and granting any other relief that the Court

deems just and appropriate.

Date: April 25, 2018                                              Respectfully submitted,

ANDREW S. MINE                                                    EDWARD N. SISKEL,
JORDAN A. ROSEN                                                   Corporation Counsel for the City of Chicago
City of Chicago, Department of Law
Constitutional and Commercial Litig. Div.                         By:      /s/ Jordan A. Rosen
30 North LaSalle Street, Suite 1230                                        Assistant Corporation Counsel
Chicago, Illinois 60602
(312) 744-7220 / 744-9018

Attorneys for Defendant


2
  Plaintiffs attempt to satisfy their pleading burden in their Response brief by stating that they could not proceed on a
vested rights claim due to “the hostile political environment.” (Plfts’ Response at 14.) They also state that a
reputable lending institution would not provide financing to Hotel following the zoning change. (Id.) But not only
are these allegations absent from Plaintiffs’ pleading, they do not “show” the inadequacy of a vested rights claim. If
Hotel succeeded on its vested rights claim to develop its interests into a hotel, it could have ultimately received
financing. Further, there is no showing that Hotel even tried to secure financing or that it considered additional
tactics, such as moving for a preliminary injunction in a vested rights action to quickly secure financing.

                                                           10
